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 6                                                 10/1/2021
 7                                                     JB




 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              June 2021 Grand Jury

11   UNITED STATES OF AMERICA,               CR    2:21-cr-00464-MWF

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 115(a)(1)(B):
                                             Threatening Federal Officers and
14   DANIEL WAYNE HOLLINGSWORTH,             Employees; 18 U.S.C. §§ 111(a)(1),
                                             (b): Assault on Federal Officers
15             Defendant.                    Resulting in Bodily Injury]
16

17        The Grand Jury charges:
18                                     COUNT ONE
19                           [18 U.S.C. § 115(a)(1)(B)]
20        On or about September 10, 2021, in Los Angeles County, within
21   the Central District of California, defendant DANIEL WAYNE
22   HOLLINGSWORTH knowingly threatened to assault and murder United
23   States Secret Service agents, with the intent to impede, intimidate,
24   and interfere with the agents while the agents were engaged in the
25   performance of official duties, and with the intent to retaliate
26   against those agents on account of the performance of official
27   duties.
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 1                                     COUNT TWO

 2                         [18 U.S.C. §§ 111(a)(1), (b)]

 3        On or about September 14, 2021, in Los Angeles County, within

 4   the Central District of California, defendant DANIEL WAYNE

 5   HOLLINGSWORTH intentionally and forcibly assaulted, resisted,

 6   opposed, impeded, intimidated, and interfered with victim K.H., a

 7   Special Agent of the United States Secret Service, and in doing so,

 8   made physical contact with K.H., while K.H. was engaged in, and on

 9   account of, the performance of K.H.’s official duties, resulting in

10   the infliction of bodily injury.

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 1                                    COUNT THREE

 2                         [18 U.S.C. §§ 111(a)(1), (b)]

 3        On or about September 14, 2021, in Los Angeles County, within

 4   the Central District of California, defendant DANIEL WAYNE

 5   HOLLINGSWORTH intentionally and forcibly resisted, opposed, impeded,

 6   intimidated, and interfered with victim B.V., a Special Agent of the

 7   United States Secret Service, and in doing so, made physical contact

 8   with B.V., while B.V. was engaged in, and on account of, the

 9   performance of B.V.’s official duties, resulting in the infliction of

10   bodily injury.

11

12                                              A TRUE BILL
13

14
                                                       /S/
                                                Foreperson
15

16   TRACY L. WILKISON
     Acting United States Attorney
17

18

19   SCOTT M. GARRINGER
     Assistant United States Attorney
20   Chief, Criminal Division

21   JOSHUA O. MAUSNER
     Assistant United States Attorney
22   Deputy Chief, General Crimes
     Section
23
     RACHEL N. AGRESS
24   Assistant United States Attorney
     General Crimes Section
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